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ORIGINAL

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

 

LEINER HEALTH PRODUCTS INC., et al.’ Casc No. 08-10446 (KJC)

Debtors. Jointly Administered

Re; Docket No, 15

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EMERGENCY INTERIM ORDER (1) AUTHORIZING DEBTORS
TO OBTAIN POSTPETITION FINANCING PURSUANT TO SECTION 364

OF THE BANKRUPTCY CODE, (11) AUTHORIZING LIMITED USE OF CASH
COLLATERAL PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE, (111)
GRANTING LIENS AND SUPER-PRIORITY CLAIMS, (TV) GRANTING ADEQUATE

PROTECTION TO THE PREPETITION AGENTS AND PREPETITION LENDERS
AND (V) SCHEDULING A FINAL HEARING ON THE DEBTORS’ MOTION TO
INCUR SUCH FINANCING ON A PERMANENT BASIS

 

This matter is before the Court on the motion filed by Leiner Health Products Inc.
and the other debtors and dcbtors-in-possession (collectively, the “Debtors”) in the above
captioned chapter 11 cases (collectively, the “Cases”) dated March 10, 2008 (the “Motion™)
requesting entry of an Order’:

(1) for immediate authorization and approval, pursuant to sections
105, 361, 362, and 364 of title 11 of the United States Code (the “Bankruptcy Code”) and Rules
2002, 4001, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),
for the Debtors to obtain postpetition financing the “DIP Facility”), and for the Guarantors to

guarantee the payment of each Debtor’s obligations thereunder and under this Order, including,

 

| The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification

number, are: Leiner Health Products Inc. (1709), LHP Holding Corp. (7947), Leiner Health Products, LIC (6283)
and Leiner Health Services Corp. (4464). The address for all Debtors is: 901 E. 233rd Street, Carson, Califomia
50745.

2 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the DIP
Facility Agreement.

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without limitation, principal, accrued interest, Unpaid fees and expenses, and all other amounts

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due [rom time to time under the documents referred to below (collectively, the “Postpetition
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Indebtedness”), from UBS AG Stamford Branch (“UBS AG”) as Administrative Agent (the

 

“DIP Administrative Agent”), UBS AG as collateral agent (the “DIP Collateral Agent”, together
with the DIP Administrative Agent, collectively the “DIP Facility Agent”), UBS AG as Issuing
Bank and UBS Loan Finance LLC as Swingline Lender and a lender, (together with the other
lenders, each in their lender capacily, collectively, the “DIP Facility Lenders”) to (A) fund,
among other things, ongoing working capital, general corporate and other financing needs of the
Debtors, including without limitation certain facs and expenses of professionals payable by the
Debtors, (B) pay certain transaction fees, and other costs and expenses of administration of the
‘Cases, (C) pay the Prepetition Agents and Prep¢tition Lenders (each as defined below) Adequate
Protection (as defined below), and (D) pay fees and expenses (including, without limitation,
reasonable attorneys’ fees and expenses) owed to the DIP Facility Agent and the DIP Facility
Lenders under the DIP Facility and the other DIP Facility Documents (as defined below);

(2) authorizing the Debtors to execute and enter into the DIP Facility
Documents and to perform such other and further acts as may be required in connection with the
DIP Facility Documents;

(3) requesting, pursuant to section 364(c) and (d) of the Bankruptcy
Code, that the financing under the DIP Facility:

a. have priority over any and all administrative expenses, including,
without limitation, the kind specified in sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a),
507(b), 726, 1113, or 1114 of the Bankruptcy Code, whether or not such expenses or claims may

become secured by a judgment lien or other consensual or non-consensual licn, levy or

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attachment, which allowed super-priority claims of the DIP Facility Agent and DIP Facility
Lenders shall be payable from and have recourse to all prepetition and postpetition property of
the Debtors, except for the Carve-Out (as delined below), as provided for herein (the “DIP
Facility Superpriority Claim’), and

b. be and be decid immediately secured by valid, binding,
continuing, enforceable, fully perfected and uw avoidable first priority senior priming security
interests in, and liens upon, all prepetition and postpctition assets of the Debtors and Guarantors,
whether now existing or hereafter acquired and a junior priority security interest in all assets
otherwise encumbered by Permitted Prior Liens (collectively, the “DIP Facility Liens”), and to
ihe extent not otherwise included, all proceeds, tort claims, insurance claims, and other rights to
payments not otherwise included in the foregoing and products of the foregoing and all
accessions to, substitutions and replacements for, and rents and profits of, each of the foregoing
(collectively, the “Collateral”), as provided for by section 364(c) and (d) of the Bankruptcy
Code, but specifically (i) excluding avoidance actions under Chapter 5 of the Bankruptcy Code
(the “Avoidance Actions”) until entry of the Final Order and at that time subject to recovery only
in a liquidation of the Collateral and as the last Collateral liquidated by the DIP Facility Agent,
and being subject to (ii) the Carve-Out as provided for herein and (iii) Permitted Prior Liens’ in
the Collateral (other than the liens, claims and interests of the Prepetition Secured Parties and
any Replacement Liens).

(4) seeking the Court’s authorization pursuant to sections 361(a),

363(c), and 364(d\(1) of the Bankruptcy Code to authorize limited use of Cash Collateral (as

 

Permitted Prior Liens shall mean those Liens (a) identified in schedule 6.02(c) to the DIP Facility
Agreement and (b) constitute Permitted Liens that exist as of the Commencement Date and are subsequently
perfected as permitted by section 546(b) of the Bankruptey Code,

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defined under section 363 of the Bankruptcy| Code} and provide adequate protection to the

Prepetition Agents and the Prepetition Lenders|on account of their claims under the Prepetition

 

Credit Facility (as defined below), because wet parties liens and claims are to be “primed” and
treated as junior in all respects to the financing provided herein pursuant and subject to the terms
hercof and the Final Order (as defined below) and as adequate protection for the limited use of
Cash Collateral:

(5) requesting, pursuant to Bankruptcy Rule 4001, that an interim
hearing (the “Interim Hearing”) on the Motion be held for this Court to consider entry of an
interim order (the “Order”) authorizing the Debtors, on an interim basis, to usc Cash Collateral
and obtain under the DIP lacility from the DIP Facility Agent and DIP Facility Lenders the
principal amount of up to $20 million pursuant to the terms of the DIP Facility Agreement (as
defined below); and

(6) requesting, pursuant to Bankruptcy Rule 4001, that a final hearing
(the “Final Hearing”) be held for this Court to consider entry of an order approving (a) the DIP
Facility as sct forth in the DIP Facility Agreement in the aggregate principal amount of up to $74
million (the “DIP Facility Amount”), and (b) the grant of adcquate protection to the Prepetition

Agents and Prepetition Lenders (collectively, the “Prepetilion Secured Parties”) all on a final

 

basis (the “Final Order’’), as sct forth in the Motion.

Pursuant to Bankruptcy Rules 4001(b) and 4001(c}(1), due and sufficient notice
under the circumstances of the Motion and the Interim Hearing having been provided by the
Debiors as set forth in paragraph H below, and the Interim Hearing having been held on
March 12, 2008, and upon consideration of all the pleadings filed with this Court; and any

objections to the relief requested in the Motion that have not been resolved are hereby overruled;

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and upon the record made by the Debtors at the |nterim Hearing and the Declaration of Robert K.
Reynolds, President, Chief Exccutive Officer and Director of Leiner Health Products Inc., in
Support of First Day Pleadings, and the D | laration of Andrew Morrow, Vice President,
Houlihan Lokey Howard Zukin Capital, Inc. in Bupport of the Motion, and after due deliberation
and consideration and good and sufficient cause-appeating therefor;

IT 1S HEREBY FOUND:

A. On March 10, 2008 (thi “Commencement Date’), the Debtors each
commenced in this Court a case under chaptet 11 of the Bankruptey Code. The Debtors are
continuing to operate their respective businesses and manage their respective properties as
debtors in possession pursuant to scctions 1107 and 1108 of the Bankruptcy Code.

B. Concurrently with the filing of the Motion, the Debtors filed a motion
secking joint administration of the Chapter 1] Cases. No request for the appointment of a trustee
or examiner has been made in these Chapter 1] Cases. No committees have been appointed or
designated.

Cc. This Court has subject matter jurisdiction to consider this matter pursuant
to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper
before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

D. Without prejudice to the rights of any non-debtor party in interest as
provided in paragraph 6 herein, the Debtors acknowledge, agree and stipulation that:

(i) Pursuant to that certain Credit Agreement dated as of May 27, 2004 by
and among Leiner Health Products Inc. and certain of its subsidiaries, UBS AG, Stamtord
Branch, as collateral agent and as administrative agent (collectively, the “Prepetition Agents’)

and the financial institutions from time to time parties thereio (collectively, the “Prepetition

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Lenders”) (as amended, supplemented, waived and otherwise modified from time to time, the
“Prepetition Credit Apreement” and together ith all “T.oan Documents” (as defined in the
Prepetition Credit Agreement) and all other agreements, documents, notes, instruments and any
other agreements delivered pursuant thereto or in connection therewith, the “Prepctition
Financing Documents”), the Prepetition Lenders made loans and advances to, issued letlers of
credit for and/or provided other financial accommodations to or for the benefit of the Debtors
from time to time;

(il) Pursuant to the Prepetition Financing Documents, the Debtors were, as of
the Commencement Date, jointly and severally indebted to the Prepctition Agents and the
Prepetition Lenders on account of the Prepetition Indebtedness (as defined below) exclusive of
accrued bul unpaid interest, costs, fees and expenses, in the approximate principa] amount of
$280 million (which consists of approximately $49,524,446 in principal amount of prepetition
revolving loans, inclusive of approximately $4,987,301 in issued and outstanding letters of credil
and $231,600,000 in principal amount of prepetition term loans). For purposes of this Order, the
term “Prepetition Indebtedness” shall mean and include, without duplication, any and all
amounts owing or outstanding under the Prepetition Financing Documents (including, without
limitation, all Obligations as defined in the Prepetition Credit Agreement), and all interest on,
fees and other costs, expenses and charges owing in respect of, such amounts (including, without
limitation, any reasonable atlorneys’, accountants’, financial advisors’ and other fees and
expenses thal are chargeable or reimbursable under the applicable provisions of the Prepetition
Financing Documents), and any and all obligations and liabilities, contingent or otherwise, owed

in respect of the letters of credit or other Obligations outstanding thereunder;

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(iii) Pursuant to the Prepetitidn Financing Documents, the Debtors granted to
and/or for the benefit of the Prepetition Agents and Prepetition Lenders first priority and
continuing pledges, liens and security interests | he “Prepetition Liens”) to secure the Prepetition
Indebtedness and any guarantees thereof, in and upon substantially all of the Debtors’ property
and assets, whether real or personal, tangible or intangible and wherever located, whether now or
hereafter existing or acquired, and all the proce ids, products, offspring, rents and profits thereof;
and

(iv) As of the Commencement Date and immediately prior to giving effect to
this Order, (a) the Prepetition Financing Documents are valid and binding agreements and
obligations of the Debtors, and the Prepetition Liens (i) constitute valid, binding, enforceable and
perfected first priority security interests and Lians, subject only to the Liens permitted under the
Prepetition Credit Agrcement, but only to the extent such permitted senior Liens are valid,
enforceable, non-avoidable Liens and security interests that are perfected prior to the
Commencement Date (or perfected after the Commencement Date to the extent permitted by
Section 546(b) of the Bankruptcy Code), which are not subject to avoidance, reduction,
disallowance, impairment or subordination pursuant to the Bankruptcy Code or applicable non-
bankruptcy law and which are senior in priority‘to the Prepetition Liens under applicable law and
alter giving effect to any applicable subordination or intercreditor agreements, and (11) are not
subject to avoidance, reduction, disallowance, impairment or subordination pursuant to the
Bankruptcy Code or applicable non-bankruptcy law, (b) the Prepetition Indebtedness constitutes
the legal, valid and binding obligation of the Debtors, enforceable in accordance with its terms,

(i}no objection, offset, defense or counterclaim of any kind or nature to the Prepetition

Indebtedness exists, and (ii) the Prepetition Indebtedness, and any amounts paid at any time to

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any Prepetition Agent or any Prepetition Lender on account thereof or with respect thereto, are
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not subject to avoidance, reduction, disallowanke, impairment or subordination pursuant to the
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Bankruptcy Code or applicable non-bankruptcy law.

F. The Debtors’ businesses have an immediate need to obtain the DIP
Facility in order to permit, among other things, the orderly continuation of the operation of their
businesses, to maintain business relationships with vendors, suppliers and customers, to make
payroll, to make capital expenditures and to satisfy other working capital and operational,
financial and general corporate needs. The access of the Debtors to sufficient working capital
and liquidity through the incurrence of new indebtedness for borrowed money and other
financial accommodations (including letters of credit and other credit support) is vital to the
preservation and maintenance of the going concern values of the Debtors and to the success of
these Chapter 11 Cases. Without such credit, the Debtors would not be able to operate their
businesses and the Debtors’ estates would be irreparably harmed.

F, The Debtors are unable to obtain sufficient financing from sources other
than the DIP Facility Lenders on terms more favorable than under the DIP Facility and all the
documents and instruments delivered pursuant thercto or in connection therewith (inclusive of
the DIP Facility Agreement, the “DIP Facility Documents”). The Debtors have been unabie to
obtain sufficient unsecured credit solely under section 503(b) (1) of the Bankruptcy Code as an
administrative expense. New credit is unavailable to the Debtors without (i) providing the DIP
Facility Agent for the benefit of the DIP lacility Lenders (a) the DIP Facility Superpriority
Claims and (b) the DIP lacility Liens as provided hercin and in the DIP Facility Documents and
(ii) without concurrently providing for adequate protection to the Prepetition Secured Parties on

the terms and conditions as set forth herein.

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G. The DIP Facility Agent and DIP Facility Lenders have indicated a
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willingness to consent and agree to provide financing to the Debtors subject to (4) the entry of

 

this Order, (ii) the terms and conditions of the DIP Facility Agreement, (iii} the terms and
conditions of all “First-Day Orders” being, in form and substance, rcasonably satisfactory to the
DIP Administrative Agent, and (iv) findings ty the Court that such postpetilion financing is
essential to the Debtors’ estates, that the terms of such financing were negotiated in good faith
and al arm’s length, and that the DIP Facility Agent’s and/or the DIP Facility Lenders’ DIP
Facility Liens and Superpriority Claims, and other protections granted pursuant to this Order and
the DIP Facility Documents will not be affected by any subsequent reversal, modification,
vacatur, or amendment of this Order or any other order, as provided in section 364(e) of the
Bankruptcy Code, Each of the DIP Facility Agent and DIP Facility Lenders has acted in good
faith in negotiating, consenling to and in agreeing to provide the postpctition financing
atrangements contemplated by this Ordcr and the other Postpetition Financing Documents and
the reliance of each of the DIP Facility Agent and DIP Facility Lenders on the assurances
referred to above is in good faith.

H. Telephonic, facsimile netice or overnight mail notice of the Interim
Hearing and the entry of this Order has been provided to (i) the thirty (30) largest creditors listed
in the Debtors’ consolidated list of creditors (excluding insiders), (ii) the Office of the United
States Trustee for the District of Delaware (the “Y 5. Trustee”), (i11) the Securities and Exchange
Commission, (iv) counsel to each of the DIP Facility Agent, (v} counsel to cach of the
Prepetition Agents, (vi) counsel to the ‘lrustee under the Senior Subordinated Note Agreement
dated as of May 27, 2007 for the 11% Senior Subordinated Notes due 2012, (vii) counsel to the

ad hoe committee of Noteholders, (viii) the United States Department of Justice (the “DOJ”),

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(viii) the U.S. Food and Drug Administration the “[DA”), and (ix) any other parties requesting

such notice, (ix) counsel to the Debtors” equity jsponsors; (x) all counterparties to nonresidential

 

real property leases of the Debtors; and (xi) all parties asserting an Existing Lien (as such term is
defined in Section 6.02 of the DIP Facility Agreement) against the Debtors’ assets (collectively,
the “Notice Parties”). Under all the exigent circumstances, the requisite notice of the Motion and
the relief requested thereby and this Order has been provided in accordance with Bankruptcy
Rule 4001, which notice is sufficient for all purposes under the Bankruptcy Code, including,
without limitation, sections 102(1) and 364 of the Bankruptcy Code, and no other notice need be
provided for entry of this Order.

1. The Debtors have requested immediate entry of this Order pursuant to
Bankruptcy Rules 4001(b) (2) and 4001(c) (2). Absent entry of this Order, the Debtors’
businesses, properties and eslales will bc immediately and irreparably harmed.

J. ‘The ability of the Debtors to finance their respective operations and the
availability 1o the Debtors of sufficient working capital and other financial and general corporate
liquidity through the incurrence of new indebtedness for borrowed money and other financial
accommodations, including letters of credit and credit support, is in the best interests of the
Debtors and their respective creditors and estates. The intcrim financing authorized hereunder is
vital to avoid immediate irreparable harm 10 the Debtors’ businesses, properties and estates and
io allow the orderly continuation of the Deblors’ businesses.

K. Based upon the record presented by the Debtors to this Court: (i) the
terms of the DIP Facility are the best available under the circumstances , reflect the Debtors’
exercise of prudent business judgment consistent with their fiduciary duly, and are supported by

reasonably equivalent valuc and fair consideration; and (ii) the DIP Facility has been negotiated

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in good faith and at arm’s length among the Djgbtors and the DIP Facility Agent, and any credit

extended, letters of credit issued, loans mate, credit support provided and other financial

 

accommodations extended to the Debtors by the DIP Facility Lenders shall be deemed to have

 

been extended, issued, or made, as the case thay be, in “good faith” within the meaning of
section 364(c) of the Bankruptcy Code.

L. None of the Prepctition Secured Parties have opposed the terms and
conditions of this Order, including the priming under section 364(d) of the Bankruptcy Code as
provided for herein.

IV 18 HEREBY ORDERED, ADJUDGED AND DECREED:

l. Disposition. The Motion is granted as set forth in this Order. Any
objections thal have not previously been withdrawn are hereby overruled. This Order shall

immediately become effective upon its entry.

2. Authorization to Botrow, Upon finalizing and exccuting that certain Senior

 

Secured, Super-Priority Debtor-in-Possession Credit Agreement (the “DIP Facility Agreement”)
by and among the Borrowers, the Guarantors, the DIP lacility Agent, and the DIP Facility
Lenders, in substantially the form annexed to tht Motion and provided that the Debtors are not in
default under the terms of this Order, the Debtors are immediately authorized to borrow under
the DIP Facility from the DIP Facility Lenders up to $20 million (together with interest, fees,
charges and expenses payable under the DIP Facility Documents, pursuant to the terms and
conditions of the DIP Facility Agreement and-use such Advances and proceeds in accordance
with the Baseline Budget and the terms of the DIP lacility Agreement. Upon execution and
delivery of the DIP Facility Documents, the DIP Facility Documents shall constitute legal, valid,
and binding obligations of the Debtors and Guarantors party therelo, enforceable against each
such Debtor and Guarantor in accordance with their terms. Upon the eniry of the Final Order,

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additional financing and advances under the D P Facility Agreement will be made available to
fund the Debtors’ working capital, financing and other gencral corporate needs and to pay other
amounts required or allowed to be paid pursuant to the DIP Facility Agreement, the Baseline
Budget, this Order and any other orders of this Court.

3. DIP Facility Superpriority Claims. For all of the Debtors’ Obligations and
Postpetition Indebtedness arising under the DIP Facility and the DIP I’acility Documents, the
DIP Facility Lenders and the DIP Facility Agent are granted, pursuant to section 364(c) (1) of
the Bankruptey Code, subject to the Carve-Out, the DIP Facility Superprivrity Claims which
claims shall be payable from and have regourse to, in addition to the Collateral, any
unencumbered prepetition or postpetition property of the Debtors whether now existing or
hereafter acquired.

4, DIP Facility Liens. As segurity for the Postpetition Indebtedness, pursuant
lo sections 364(c)(2), (¢)(3), and (d) of the Bankruptey Code, the DIP Collateral Agent, on behalf
of itself and the DIP Facility Lenders, is hereby granted (without the necessity of the execution
by the Debtors or the filing or recordation. of mortgages, security agreements, lock box
agreements, financing statements, or otherwise) the DIP Facility Liens. The DIP Facility Liens
granted herein shall prime and be senior in all respects to the Prepetition Liens and the
Replacement Licns pursuant to section 364(d) of the Bankruptcy Code and upon entry of this
Order, all possessory collateral held by the Prepetition Agents shall be deemed to have been
transferred to the DIP Facility Agent and at the request of the DIP Administrative Agent, the
Prepetition Agents shall transfer and assign their interests in any blocked account or tri-party
bank account agreements to the DIP Facility Agent for purposes of perfection and control. In the

evenl of the occurrence of an Event of Default or similar event under the DIP Facility

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Documents (an “Event_of Default”), the DID) Facility Liens, the Prepetition Liens and the

Replacement Liens shall be subject to the payment of the Carve-Out. Pursuant to section

 

364(c)(3)} of the Bankruptcy Code, the DIP Fadility Liens shall be junior to the Permitted Prior
Licns; provided however, the DIP Facility Liens shall be senior in all respects to and prime (i)
the Prepetition Agents’ and Prepetition Lenders’ liens, claims and interests under the Prepetition
Financing Documents (including the Prepetition Liens and Replacement Liens each as defined
and granted herein) and (ji) any liens, claims and interests of the DOJ and FDA, if any, pursuant
to section 364(d)(1) of the Bankruptcy Code.

5. Carve-Out. Subject to the terms and conditions contained in this paragraph,
the DIP Facility Liens, DIP Facility Superpriority Claim, the Adequate Protection and liens and
claims held by the Prepetition Secured Parties shall be subject to the following: (1) unpaid fees
of the Clerk of the Bankruptcy Court and the U.S. Trustee pursuant to 28 U.S.C. § 1930(a); (1)
professional fees and expenses of the Debtors and the official committee of unsecured creditors
(the “Committee”) (the “Professional Fecs”) incurred prior to delivery of a notice or the Final
Maturity Date (such Professional Fees, the “Agcrued Claims” and such notice, the “Carve-Out
Notice”); (iii) Professional Fees incurred subsqquent to delivery of the Carve-Out Notice in an
aggregate amount not to exceed $6,000,000 provided however, in the event a sale of
substantially all of the Debtors’ asscts is not approved in the Cases, then the $6,000,000 amount
referred to in this clause shall be reduced to an aperegatc amount not to exceed $2,500,000 (the
sum of (i), (ii) and (iii) above, the “Carve-Out;Cap”); and (iv) any amounts due under the Sale
Bonus Program (the “Sale Bonus Carve-Out,” and together with the Carve-Out Cap, the
“Carve-Out”). The Carve-Out shall exist at all time, but only be triggered and payable upon (i)

the occurrence of an Event of Default under the DIP T.oan Documents and the DIF

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Administrative Agent’s delivery of a Carve-Out Notice to the Debtors, counsel for the Debtors,

and counsel to the Committee or (ii) the Final Maturity Date. Notwithstanding anything to the

 

contrary herein, unless the Carve-Out has been funded pursuant to a separate Order of this Court
from the proceeds of a sale of thc Debtors’ assets then, (i) upon or following the occurrence of
the Final Maturity Date, the Debtors shall be authorized to request an Advance and the DIP
Facility Lenders shall fund such Advance, in an amount equal to (a) the Carve-Out Cap,
estimated as of the Final Maturity Date, for payment of the Carve-Out Cap and the DIP Facility
Agent and DIP Facility Lenders shall fund such Carve-Out Cap amount into an escrow account
for the benefit of the Debtors’ and Committee’s professionals and Debtors’ payment of such
Accrued Claims and Professional Fees; and (b}-upon the occurrence of the Final Maturity Date,
in the event there is a sale of substantially all of the Debtors’ assets, the Debtors shall be
authorized to request an Advance and the DIP Facility Lenders shall fund such Advance, in an
amount equal to the Sale Bonuses Program Jor payment of amounts duc under such Sale Bonuses
Program and the DIP Facility Agent and DIP Facility Lenders shall fund such Sale Bonus
Program amount into an escrow account for the benefit of the individuals participating in such
Sale Bonuscs Program and Debtors’ payment of such Sale Bonuses Program, and (c) upon or
following the occurrence of an Event of Default and Delivery of the Carve-Out Notice, the
Debtors shall be authorized to request an Advance and the DIP Facility Lenders shall fund such
Advance, in an amount equal to the Carve-Oul Cap estimated as of the Carve-Out Notice date,
and the DIP: Facility Agent and DIP Facility Lenders shall fund such Carve-Out Cap amount into
an escrow account maintained by the DIP Administrative Agent for the benefit of the Debtors’
professionals and the Committce’s professionals (the “Carve-Out Escrow”); provided however,

that the payment of the Accrued Claims and Professional Fees shall be made upon cach

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professional’s presentment of an accounting of uch fees to the DIP Administrative Agent, with
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from the liquidation of the Collateral and second

such payments to be made first from proceeds
from the Carve-Out Escrow at the DIP Adminis rative Agent's option as the Accrued Claims and
Professional Fees are incurred until the Carve-Out Cap is paid in full; provided further, that in
the event there is any unused proceeds in any escrow account established for the payment of the
Carve-Out under this Order, then such unused portion shall be returned to the DIP Facility
Agent, on behalf of the DIP Facility Lenders pon the closing of the Cases. In all cases, the
Carve-Out, Advances, Letters of Credit, Cash Collateral and Collateral shall not include, apply
io, or be available for any fees or expenses incurred by any party, including the Debtors or the
Committee, in connection with (i) the initiation or prosecution of any claims, causes of action,
adversary proceedings, or other litigation against any of the DIP Facility Agent or the DIP
Facility Lenders, including, without limitation, challenging the amount, validity, extent,
perfection, priority, or enforceability of, or asserting any defense, counterclaim, or offsct to the
Postpetition Indebledness, the DIP Facility Superpriority Claim, or the security interests and
licns of the DIP Facility Agent in respect thereof, (ii) asserting any claims or causes of action,
including, without limitation, claims or actions to hinder or delay the DIP Facility Agent’s or
DIP Facility Lenders’ assertion, enforcement or realization on the Collateral in accordance with
the DIP Facility Documents or this Order or any Avoidance Actions against the DIP Facility
Agent or the DIP Facility Lenders, or (iii) the initiation or prosecution of any claims, causes of
action, adversary proceedings, vr other litigation against any of the Prepetition Secured Parties,
including, without limitation, challenging the amount, validity, extent, perfection, priority, or
enforceabilily of, or asserting any defense, counterclaim, or offset to the Prepetition

Indebtedness, or the Adequate Protection granted herein; provided however, up to the amount of

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$35,000 shall be permitted to be used by pro lest ionals of the Committee to investigale the hens,
claims and interests of the Prepetition Secured Parties. The foregoing shall not be construed as
consent to the allowance of any fecs and expenses referred to above and shall not affect the right
of the Debtors, the DIP Facility Agent, the DIP Facility Lenders, the Committee, the U.S.
‘Trustee, or other parties in interest to object to the allowance and payment of such amounts.

6. Investigation Rights. Notwithstanding anything herein to the contrary,
including the Debtors’ stipulations and releases herein solely as they relate to the Prepctition
Agents, Prepetition Lenders, Prepctition Credit Facility, the Committee, if appointed, and all
non-deblor parties (including any trustce appointed or elected in the cases prior to the
Investigation Termination Date) in interest and:any subsequently appointed trustee in the Cases
shall have until scventy-five (75) days from: the Commencement Date (the “Investigation
Termination Date)’ io investigate the validity, perfection, and enforceability of the Prepetition
Liens and the amount and allowabilily of the Prepetition Indebtedness, or to assert any other
claims or causes of action against any of the Prepetition Secured Parties, If the Committee, or
any non-debtor party in interest hereafter vested with authority by the Couri, determines that
there may be a challenge by the Investigation Termination Date, upon three (3) days’ written
notice to the Debtors and the Prepetition Agents, (which notice may be given on the
Investigation Termination Date), such Committee or other non-debtor party in interest hereafter
vested with authority by the Court shall be permitted to file and prosecute an objection or claim
related thereto (each, a “Challenge”}, and shall have only until the Investigation Termination
Date to file such objection or otherwise initiate an appropriate action or adversary proceeding

(including a motion secking authority to file an action) on behalf of the Debtors’ estates setting

 

+ Until the occurrence of the Investigation Termination Date, the Debtors’ stipulations and releases herein
shall not be binding upon the Committee and any non-debtor parties in interest.

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forth the basis of any such challenge, claim or cause of action. Ifa Challenge is not filed on or
before the Investigation ‘lermination Date (or such other later date as extended by the written
consent of the Dcbtors and the Prepetition Agents), agreements, acknowledgements and
slipwlations contained in paragraph D of this Order shall be irrevocably binding on the estates,
Committee and all parties in interest (including without limitation a recciver, administrator, or
trustee appointed in any of the Cases or in any jurisdiction) without further action by any party or
this Court and the Committee and any other party in interest (including without limitation a
receiver, adminisiraior, or trustee appointed in any of the Cases or in any jurisdiction) shall
thereafter be forever barred from bringing any Challenge.

7. Limitation on Additional Surcharges. So long as ihe DIP Facility Lenders
are providing postpcetition financing or otherwise allowing the use of cash collateral, with the
exception of the Carve-Oul and except as otherwise permitted by the DIP lacility, upon approval
al the Final Hearing, neither the Collatcral nor any DIP lacility Agent, DIP Facility Lender, or
any Prepetition Secured Parties shall be subject to surcharge, pursuant to section 506(c) of the
Bankruptcy Code or otherwise, by the Debtors or any other party in interest without the prior
witlien consent of the DIP Administrative Agent and Prepetition Agents and no such consent
shall be implied from any other action, inaction, or acquiescence by the Lending Partics in this
proceeding, including but not limited to funding of the Debtors’ ongoing operation by the DIP
Facility Agent and DIP Facility Lenders. Upon approval at the Final Hearing, the DIP Facility
Agent, DIP Facility Lender, Prepetition Secured Partics shall not be subject to the equitable
doctrine of “marshaling” or any similar doctrine with respect to the Collatcral; provided

however, that upon approval at the inal Hearing, the DIP Facility Agent’s licens claims and

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interest in the Avoidance Actions shall only be authorized in a liquidation context and shall be
the last Collateral applied to satisfy the Postpetition Indebtedness by the DIP Facility Agent.
b. Prepetition Sccured Parties Adequate Protection and Cash Collateral Use.
Upon entry of this Order, to the extent Debtors have cash on hand and have not requested any
Advances under the DIP Facilily, then the Prepetition Agents, on behalf of the Prepetition
Lenders, consent to the limited use of cash collateral (as defined under section 363 of the
Bankruptcy Codec) strictly in accordance with the use provisions of the DIP Facility Agreement
and Baseline Budget. Immediately upon the first Advance under the DIP I‘acility, the limited
use of Cash Collateral authorization shall terminate and any remaining cash on hand shall be
subject to the DIP Facility Liens and the DIP Facility Documents. In consideration for the
limited use of Cash Collateral and the priming of the Prepetition Agents’ liens, claims and
interests in the Collateral (solely upon the terms and conditions of this Order), the Prepctition
Secured Parties shall receive the following (collectively the “Adequate Protection”): (a) To the
extent there is a diminution in Prepetition Lenders’ collateral, the Prepetition Agents, on behalf
of the Prepetition Lenders, are granted a replacement lien in the Collateral, subject to the
Carvc-Out (the “Replacement Licns”’);
(b) Subject to the Carve-Out, an adminisirative claim (the “Prepetition

Lenders Administrative Claim”) against the Debtors’ estates to the extent that the Replacement

 

Liens do not adequately protect the decrease in the value of the Prepetition Lenders’ collateral as
a result of the priming under the DIP lacility, which Prepetition Lenders Administrative Claim,
if any, shall be junior and subordinate to the DIP Facility Superpriority Claims; and

{c) Subject to the Carve-Out, payments of the Prepetition Agents’ and their

counsel’s reasonable fees and expenses for legal counsel, financial advisors and appraisers for

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services rendered prepctition or postpetition on behalf of the Prepetition Agents or their counsel;
provided that none of such fees and expenses as adequate protection payments hereunder shall be
subject to approval by the Court or the United States Trustee Guidelines, but such professional
shall provide copies of summary invoices and statements to the U.S. Trustee and counsel to the
Committee, and no recipient of any such payment shall be required to file with respect thereto
any interim or final foc application with the Court; provided, however, that the Court shall have
jurisdiction to determine any dispule concerning such invoices, and provided, further, however,
that such payments shal! be provisional in nature, and if and to the extent that any payment(s) is
challenged by a party in interest under section 506(b) of the Bankruptcy Code and ultimately not
allowed under such provision, such payment(s) may be recharacterized as a payment of principal
on the indebtedness under the Prepetition Credit: ’acility.
9, Fees and Expenses of the DIP Facility Agent and the DIP Facility Lenders.
The Debtors shall promptly following receipt of a written summary invoice (with a copy
delivered to the U.S. Trustee), reimburse the DIP Facility Agent and the DIP Facility Lenders for
their reasonable out-of-pocket costs, fees (including reasonable attorncys’ fees), charges, and
expenses incurred in connection with the Cases whether incurred prepetition or postpetition.
None of such out-of-pocket costs, fecs, charges, and expenses shall be subject to Court approval
or required to be maintained in accordance with the U.S. Trustee Guidelines and no recipient of
any such payment shall be required to file with respect thereto any interim or final fee
application with the Court, provided that the Court shall have jurisdiction to determine any
dispute concerning such invoices.
10, Restrictions on the Debtors. Other than the Carve-Out and the Permitted

Prior Liens, no claim having a priority superior or pari passu with those granted by this Order to

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ihe DIP Facility Agent, the DIP Facility Lenders shall be granted by any Debtor or Guarantor,
while any portion of the DIP Facility (or refinancing thereof) or the commitment thereunder
remains outstanding without the wrillen consent of the DIP Administrative Agent. Except as
expressly permitted by the DIP Facility Agreement and this Order, the Debtors will not, al any
time during the Cases, grant mortgages, security interests, or liens in the Collateral or any portion
thereof to any other parties pursuant to section 364(d) of the Bankruptcy Code or otherwise.

11. Additional Perfection Mcagures. The DIP Facility Agent and DIP Facility

 

Lenders shall not be required to file financing statements, mortgages, deeds of trust, securily
deeds, notices of lien, or similar instruments in any jurisdiction or effect any other action to
attach or perfect the security interests and liens granted under the DIP lacility Documents and
this Order (including, without limitation, the taking possession of any of the Collateral, the
execution of any control, lock-box, deposit account, or the taking of any action to have securily
interests or licns noted on certificates of title or similar documents). Notwithstanding the
foregoing, the DIP Facility Agent and DIP Farilily Lenders may, in their sole discretion, file
such financing statements, mortgages, deeds of trust, notices of lien, or similar instruments or
otherwise confirm perfection of such liens, security interests, and mortgages without seeking
modification of the automatic stay under section 362 of the Bankruptcy Code and all such
documents shall be deemed to have been filed or recorded at the time of and on the
Commencement Date.

12. Access to Collateral — No; Landlord’s Liens. Upon approval at the Final
Hearing, notwithstanding anything contained herein to the contrary and without limiting any
other rights or remedies of the DIP Facility Agent, for the ratable bencfit of the DIP Iacility

Lenders, contaimed in this Order or the DIP Facility Documents, or otherwise available at law or

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in equity, and subject to the terms of the DJP:Facility Agreement, upon written notice to the
landlord of any leased premises that an Event of Default has occurred and is continuing under the
DIP Facility Documents, the DIP Facility Agent may, subject to any separate agreement by and
between such landlord and the DIP Facility Agent, enter upon any leased premises of the Debtors
for the purpose of exercising any remedy with fespect to Collateral located thereon and shall be
entitled to all of the Debtors’ rights and privileges as lessee under such lease without interference
from the landlords thereunder, provided that the DIP Facility Agent shall only pay rent of the
Debtors that first accrues after the DIP Facility Agent’s wrilten notice referenced above and that
is payable during the period of such occupancy by the DIP Facility Agent, calculated on a per
diem basis. Nothing herein shall require the DIP Facility Agent to assume any lease as a
condition to the rights afforded to the DIP Facility Agent in this paragraph. Furthermore, other
than Permitted Liens, any landlord’s lien, bailee’s rights, right of distraint or levy, security
interest or other interest that any landlord, warehousemen, bailee or landlord's mortgagee may
have in any Collateral of the Debtors located on such leased premises, to the extent the same is
not void under Section 545 of the Bankruptey Code, is hereby expressly subordinated to the DIP
Facility Liens in such Collateral.

13, Automatic Stay. Subject only to the provisions of the DIP Facility
Agreement and without further order from this Court, the automatic stay provisions of section
362 of the Bankruptcy Code are vacated and modified to the extent necessary to permit the DIP
Facility Agent and DIP Facility Lenders to exercise, upon the occurrence and during the
continuance of any Event of Default (as defined and provided for in Article 8.01 of the DIP
Facility Agreement), all rights and remedies provided for in the DIP Facility Documents

(including, without limitation, the right to [reeme monics or balances in the Debtors’ accounts or

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set off monies or balances of the Debtors in accounts maintained by the DIP Facility Agent or
any DIP Facility Lender); provided however, that prior to the exercise of any enlorcement or
liquidation remedies against the Collateral, the DIP Facility Agent shall be required to give five
(5) business days written notice provided to the Debtors, their bankrupicy counsel, the
Committee’s counsel, and the U.S. Trustee. Notwithstanding the occurrence of an Event of
Default or termination of the Commitments under the DIP Facility Agreement or anything
herein, all of the righis, remedies, benefits, and protections provided to the DIP Facility Agent
and DIP Facility Lenders under the DIP Facility Documents and this Order shall survive the
Vinal Maturity Date. The Debtors and/or the Committee shail have the initial burden of proof at
any hearing on any request by the Debtors and/or the Committee to re-impose or continue the
automatic stay as provided for herein; provided, however, that nothing contained herein shall
constitute a waiver of the Debtors’ right to challenge the occurrence or existence of an Event of
Default or shall prohibit the Debtors from contesting, disputing or challenging the occurrence or
existence of an Event of Default. This Court shall retain exclusive jurisdiction to hear and
resolve any disputes and enter any orders required by the provisions of this paragraph and
rclating to the application, re-imposition or continuance of the automatic slay as provided
hereunder.

14. Binding Effect. The provisions of this Order shall be binding upon and
inure to the benefit of the DIP Administrative Agent, the DIP Facility Lenders, the Prepetition
Secured Parties, the Debtors, and their respective successors and assigns. Except as provided for
in paragraph 6, to the extent permitted by applicable law, this Order shall bind any trustee

hereafter appointed for the estate of any of the Debtors, whether in these Cases or in the event of

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the conversion of any of the Cases to a iouiation under chapter 7 of the Bankruptey Code.
Such binding effect is an integral part of this Order.

15, Survival, The provisions of this Order and any actions taken pursuant
hereto shall survive the entry of any order (i) confirming any plan of reorganization in any of the
Cases (and, to the extent not satisfied in full in cash, the Postpetition Indebtedness shall not be
discharged by the entry of any such order, or pursuant to section 1141(d)(4) of the Bankrupicy
Code, each of the Debtors having hereby waived such discharge); (ii) converting any of the
Cases to a chapter 7 casc; or (iii) dismissing any of the Cases, and the terms and provisions of
this Order as well as the DIP Facility Superpriority Claims, the DIP Facility Liens, and the
Adequate Protection granted pursuant to this Order and the DIP lacility Documents shall
continue in full force and effect notwithstanding the entry of any such order, and such claims and
liens shall maintain their priority as provided by this Order, and the DIP Facility Documents and
to the maximum extent permitted by law until all of the Postpetition Indebtedness and Prepetition
Indebtedness is indcfcasibly paid in ful! in cash and discharged. Further, the Carve-Out
provisions, including the DIP Lenders funding obligations and the escrow accounts shall survive
the Final Maturity Date as provided for herein.

16, After Acquired Property. Except as otherwise provided in this Order,

 

pursuant to section 552(a) of the Bankruptcy Code, all property acquired by the Debtors aller the
Commencement Date, including, without limitation, all Collateral pledged or otherwise granted
to the DIP Facility Agent, on behalf of themselves and the DIP Facility Lenders, pursuant to the
DIP Facility Documents and this Order, is not and shall not be subject to any licn of any person
or entity resulting from any securily agreement entered into by the Debtors prior to the

Commencement Date, except to the exteni thal such property conslitutes proceeds of property of

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the Debtors that is subject to a valid, enforcepble, perfected, and unavoidable licn as of the
Commencement Date which is not subject to subordination under section 510(c) of the
Bankruptey Code or other provision or principles of applicable law.

17. Access to the Debiors. In.accordance with the provisions of access in the
DIP Facility Documents, the Debtors shall permit representatives, agents, and/or employees of
the DIP Facility Agent and DIP lacility Lenders to have reasonable access to their premises and
records during normal business hours (without unreasonable interference with the proper
operation of the Debtors’ businesses) and shall cooperate, consult with, and provide to such
represcntatives, agents, and/or employees all such non-privileged information as they may
reasonably request.

18. Authorization to Act. Each of the Debtors is authorized to do and perform
all acts, to make, execute and deliver all instruments and documents (including, without
limitation, the execution of security agreements, mortgages and financing statements), and lo pay
fees as provided under this Order, which may be reasonably required or necessary for the
Debtors’ performance under the DIP Facility and this Order, including, without limitation:

a. the execution of the DIP Facility Documents;

bh, the modification or amendment of the DIP Facility Agreement or
any other DIP Facility Documents without further order of this Court, in each case, in such form
as the Debtors, the DIP Facility Agent, and the DIP Facility Lenders may agree (cxcept for any
modification or amendment to shorten the maturity of the extensions of credit thereunder, or
increase the rate of interest or the letter of credit fees payable thereunder); provided, however,
that notice of any material modification or amendment shall be provided to the Committee and

the U.S. Trusiee, cach of which will have five (5) days from the date of such notice within which

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to object in writing (other than for amendments provided for in the Fee Letter); provided further,
however, that if such objection is timely provided, then such modification or amendment shall be
permitted only pursuant to an order of the Court; and the non-refundable payments to the DIP
Facility Agent or the DIP Facility Lenders, as the case may be, of the Fees referred to (and
defined) in the DIP Facility Agreement and the Fee Letter (which shall remain confidential and
under seal), and reasonable costs and expenses as may be due from time to time, including,
without limitation, reasonable altorncys’ and other professional fees and disbursements as
provided in the DIP Facility Documents; br ovided, however, the Debtors shall only be
authorized to pay up to the amount of the Conimitment Fee for fecs duef and owing under the
Fee Letter with the balance of any fees paid upon entry of the Final Order.

19, Insurance Policics. Upon entry of this Order, the DIP Facility Agent and
DIP Facility Lenders shall be, and shall be deemed to be, without any further action or notice,
named as additional insurcds and loss payees on each insurance policy maintained by the
Debtors which in any way relates to the Collateral. Any insurance procceds or other receipts
from any source (excluding other authorized payments provided for herein) paid to any of the
Prepetition Secured Parties shall be immediately delivered to the Debtors and subject to the DIP
Facility Liens and provisions of the DIP Facility Agreement.

20, Subsequent Reversal. If any or all of the provisions of this Order or the DIP
Facility Documents are hereafter modified, vacated, amended, or stayed by subsequent order of
this Court or any other court without the consent of the DIP Administrative Agent: (i) such
modification, vacatur, amendment, or stay shall not affect the validity of any obligation of any
Debtor or Guarantor to the DIP Facility Agent, DIP Lenders or Prepetition Secured Parties that is

or was incurred prior to the effective date of such modilication, vacatur, amendment, or stay (the

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“Effective Dato”), or the validity, enforceability or priority of the DIP Facility Superpriority
Claim, DIP Facility Licns or other grant authoriped or created by this Order and the DIP Facility
Documents: (ii) the Postpctition Indebtedness pursuant to this Order and the DIP Facility
Documents arising prior to the Effective Date shall be governed in all respects by the original
provisions of this Order and the DIP Facility Documents, and the validity of any such credit
extended or security interest granted pursuant to this Order and the DIP Facility Documents is
and shall be protected by section 364(e) of the Bankruptcy Code; (iii) Adequate Protection
furnished to the Prepetition Secured Parties pursuant to this Order shal] be governed in all
respects by the original provisions of this Order and the Prepetition Financing Documents.

21, Effect of Dismissal of Cases. If the Cases are dismissed, converted or
substantively consolidated, then neither the entry of this Order nor the dismissal, conversion ofr
substantive consolidation of these Cases shall affect the rights of the DIP Facility Agent, DIP
Lenders and the Prepetition Secured Parties under their respective documents or this Order, and
all of the respective rights and remedies thereunder of the DIP Facility Agent, DIP Lenders and
the Prepetition Secured Parties shall remain in full force and effect as if the Cases had not been
dismissed, converted, or substantively consolidated. If an order dismissing any of the Cases is at
any time entered, such order shall provide (in accordance with Sections 105 and 349 of the
Bankruptcy Codec) that (i) the DIP Facility Liens and DIP Facility Superpriority Claim granted to
and conferred upon the DIP Facility Agent and DIP Facility Tenders and the protections afforded
to the DIP Facility Agent and/or the DIP Facility Lenders pursuant to this Order and the DIP
Facility Documents shal! continue in full foreé and effect and shall maintain their priorities as
provided in this Order until all Postpetition Indebtedness shall have been paid and satisfied in

full in cash and, with respect io outstanding undrawn letters of credit, cash collateralized in

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accordance with the provisions of the DIP Facility Agreement (and that such DIP Facility Liens,
DIP Facility Superpriority Claim and other protections shall, notwithstanding such dismissal,
remain binding on all interested parties), (ii) the Adequate Protection granted to and conferred
upon the Prepetition Secured Parties shall continue in full force and effect and shall maintain
their priorities as provided in this Order until all Prepetition Indebtedness shall have been paid
and satisfied in full, and (iv) this Court shall retain jurisdiction, notwithstanding such dismissal,
for the purpose of enforcing the DIP Facility Liens, Prepetition Liens, DIP Facility Superpriority
Claim, and Adcquate Protection referred to herein, and (iv) any hearing on a motion to dismiss
any of the Cases shall require at least twenty (20) days prior notice to allow the DIP Facility
Agent and DIP Facility Lenders to perfect their security interest and licns in the Collateral under
non-bankruptcy law. The provisions of this Order, and any actions taken pursuant hercto, shall
survive the entry of and shall govern with respect to any conflict with any order thal may be
entered confirming any plan of reorganization or converting any of the Cases from Chapter 11 to
Chapter 7. In no event shall any plan of reorganization be allowed to alter the terms of
repayment of any of the Postpetition Indebtedness from those sct forth in the DIP Facility
Documents. The Postpctition Indebtedness shall not be extinguished or released by the entry of
any order confirming a plan of reorganization in any of the Cases unless the Postpetition
Indebtedness is paid in full in cash upon the effective date of any such plan and, pursuant to
section 1141(d)(4) of the Bankruptcy Code, the Debtors have waived discharge.

a2. Findings of Fact and Conclusions of Law. ‘This Order constitutes findings
of fact and conclusions of law and shall take effect and be fully enforccable nunc pre tunc to the

Commencement Date immediately upon the entry thereof.

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23, Controlling Effect of onl To the extent any provision of this Order

conflicts with any provision of the Motion, any prepetition aprcement or any document executed
in connection with the DIP Facility, the provisions of this Order shall control.

24, Final Hearing, A final hearing on the Motion shall be heard before this
Court on April 8, 2008 at 1:30 p.m. (Prevailing Eastern Time) at the Uniled States Bankruptcy
Court for the District of Delaware, Bankruptcy Court, 824 North Market Street, 5" Floor,
Courtroom 5, Wilmington, Delaware 19801.

25. Adequate Notice. The notice given by the Debtors of the Interim Hearing
was given in accordanee with Bankruptcy Rule 4001(¢)(2). Within three (3) business days after
the Court’s entry of this Order, the Debtors shall mail copies of this Order and notice of the Final
Hearing to the Notice Parties and (i) known holders of a Lien against any of the Debtors’ assets
and (ii) all landlords of the Debtors. Any party-in-interest objecting to the relicf sought in the
Pinal Order shall submit any such objection in writing and file samc with the Court (with a
courtesy copy to chambers) and serve (so as to be received) such objection no later than April 1,
2008 at 5:00 p.m. (Prevailing Eastern Time) on the following:

(a} Kirkland & Ellis, LLP, Citigroup Center, 153 East 53rd Street, New York, New
York 10022 (Attn: Paul M. Basta, Esq., Edward O. Sassower, Esq, and Andres C. Mena, Esq.)
and Richards, Layton & Finger, P.A., One Rodney Square, 920 North King Street,
Wilmington, Delaware 19801 (Attn: Mark D. Collins, Esq. and Jason M. Madron, L'sq.),
proposed counsel 10 Debtors and Debtors-in-Possession;

(b) Paul Hastings Janofsky & Walker, LLP, 600 Peachtree Street, Suile 2400,
Atlanta, Georgia 30308 (Attn: Jesse FI. Austin, II, Esq.) and 75 East 55th Street, New York, NY

10022 (Attn: Leslie A. Plaskon, Esq. and Kristine M. Shryock, Esq.) and Duane Morris LLP,

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Suite 1200, 1100 North Market Street, Wilminglon, DE 19801 (Attn. Richard W. Riley, Fsq.),
counsel to the DIP Facility Agent and Prepetition Agents;

(c) Munger, Tolles& Olson LLP, 355 South Grand Avenue, Los Angeles,
California 90071 (Attn; Mark Shinderman, Esq.) counsel to the ad hoe committee of
Noteholders; and

(d} Office of the United States Trustce for the District of Delaware, 844 King

Street, Suite 2207, Lockbox 35, Wilmington, Ddlaware 19801 (Attn: Mark 5. Kenney, Esq.).

The IYonorabte Kevit J. Carey
United States Bankruptcy Judge

Dated: March 12, 2008
Wilmington, Delaware

 

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